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Samuel A. Diddle, ISB #4967
sdiddle@eberle.com
EBERLE, BERLIN, KADING,
TURNBOW & MCKLVEEN, CHTD.
1111 West Jefferson, Ste 530
PO Box 1368
Boise, ID 83701
Telephone:    (208) 344-8535
Facsimile:    (208) 344-8542

Attorneys for the Plaintiff
Banner Life Insurance Company




                                UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF IDAHO



 BANNER LIFE INSURANCE COMPANY,

                       Plaintiff,
                                                      Case No. 1:20-cv-00036-JZ
 v.

 TALESE L. ANDERSON, an individual and                MOTION FOR INTERPLEADER
 JORDAN M. EGGERS, individually and in his                 AND DISCHARGE
 capacity as the Personal Representative of the
 Estate of Jeremy C. Eggers,

                       Defendants.


         COMES NOW the above-entitled Plaintiff, Banner Life Insurance Company (hereinafter,

“Banner”), an insurance company organized under the laws of the State of Maryland, with its

principal place of business therein at 3275 Bennett Creek Ave., Frederick, MD 21704, by and

through its counsel of record, Eberle, Berlin, Kading, Turnbow & McKlveen, Chartered, and

pursuant to Federal Rule of Civil Procedure 22(a)(1), and Idaho Code §§ 5-321 and 8-701, hereby

MOTION FOR INTERPLEADER - 1
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moves this Court for an Order interpleading Defendants and requiring them to litigate this matter

bewtween themselves and for an Order discharging Plaintiff from liability to Defenants under a

term life insurance Policy No. 181239991 issued to Plaintiff’s insured, Jeremy C. Eggers.

         Plaintiff further moves this Court, pursuant to Federal Rule of Civil Procedure 67, for an

Order allowing Pliaintiff to deposit with the Clerk of the Court the proceeds payable under the

aforementioned life insurance policy. This motion is supported by the Interpleader Complaint,

attached hereto as Exhibit A.

         DATED this 9th day of August, 2021.


                                              EBERLE, BERLIN, KADING, TURNBOW
                                               & MCKLVEEN, CHARTERED

                                              By             /s/Samuel A. Diddle
                                                     Samuel A. Diddle, Idaho Bar #4967
                                                     Attorneys for the Plaintiff
                                                     Banner Life Insurance Company




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 9th day of August, 2021, I filed the foregoing electronically
through the CM/ECF system, which caused the following parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:


    John J. Janis                               Email: jjanis@hepworthholzer.com
    Hepworth Holzer LP                          ECF Notice
    537 West Bannock St.
    Boise Idaho 83701


    Shawn E. Logan                              Email: shawnlogan@loganlaw.us
    Logan & Copple PC                           ECF Notice
    399 S. Oregon Street
    Ontario, OR 97914




                                                     /s/ Samuel A. Diddle
                                             Samuel A. Diddle




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Samuel A. Diddle, ISB #4967
sdiddle@eberle.com
EBERLE, BERLIN, KADING,
TURNBOW & MCKLVEEN, CHTD.
1111 West Jefferson, Ste 530
PO Box 1368
Boise, ID 83701
Telephone: (208) 344-8535
Facsimile:    (208) 344-8542

Attorneys for the Plaintiff
Banner Life Insurance Company




                                UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF IDAHO



 BANNER LIFE INSURANCE COMPANY,

                       Plaintiff,
                                                        Civil Action No.
 v.

 TALESE L. ANDERSON, an individual and                  INTERPLEADER COMPLAINT
 JORDAN M. EGGERS, individually and in his
 capacity as the Personal Representative of the
 Estate of Jeremy C. Eggers,

                       Defendants.


         Plaintiff, Banner Life Insurance Company (hereinafter, “Banner”), an insurance company

organized under the laws of the State of Maryland, with its principal place of business therein at

3275 Bennett Creek Ave., Frederick, MD 21704, by way of Complaint in Interpleader says:




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                                             THE PARTIES

         1.        Banner is an insurance company organized and existing under the laws of the State

of Maryland with its principal place of business in Frederick, Maryland.

         2.        Defendant, Talese L. Anderson, (“Anderson”), is an adult individual who is

domiciled in Idaho and resides at 4726 Center Lane, Fruitland, Idaho. Upon information and

belief, Anderson was the girlfriend of Jeremy C. Eggers, deceased (the “Insured”) and is named in

this action as a putative beneficiary of life insurance proceeds.

         3.        Defendant, Jordan M. Eggers (“Jordan Eggers” or “PR”), is an adult individual

who is domiciled in Idaho and resides at 128 Sycamore St., Fruitland, ID. Upon information and

belief, Mr. Eggers is the personal representative of the Estate of the Insured, which is a putative

beneficiary of the life insurance proceeds at issue, and is named in this action in his capacity as

the personal representative of the Insured’s Estate and individually as a putative beneficiary of

Accidental Death Policy proceeds.

                                    JURISDICTION AND VENUE

         4.        This Court also has original jurisdiction over this Interpleader action pursuant to 28

U.S.C. § 1335, because the amount in controversy is greater than $75,000.00, and there is diversity

of citizenship between two or more of the defendants and plaintiff.

         5.        This Court also has original jurisdiction over this Interpleader action pursuant to 28

U.S.C. § 1332, because the death benefits in controversy are greater than $75,000.00, and there is

diversity of citizenship among the parties.

         6.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) and 28 U.S.C. §

1397 because it is the judicial district in which at least one of the claimants resides.



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                             FACTS SUPPORTING INTERPLEADER

         7.        Banner issued a term life insurance policy to Jeremy C. Eggers, bearing Policy No.

181239991 (the “Life Insurance Policy”). Attached hereto as Exhibit A is a true and correct copy

of the applicable booklet/certificate for the Life Insurance Policy.

         8.        At all relevant times, the Insured was covered under the Life Insurance Policy for

term life insurance benefits in the amount of $1,000,000 (“Death Benefit”).

         9.        The Insured died on or about May 17, 2019 in Idaho as a result of accidental

drowning. Attached hereto as Exhibit B is a true and correct copy of the Insured’s Death

Certificate, as provided to Banner.

         10.       Under the terms of the Life Insurance Policy, beneficiary designations must be

submitted through the Policy Holder. See Exhibit A at pg. 6.

         11.       The Designated Beneficiary in effect at the time of the Insured’s death was Monica

Eggers, the Insured’s former spouse.

         12.       Upon information and belief, the Insured and Monica Eggers divorced in the State

of Idaho and as a result of the divorce, Monica Eggers’ rights as the primary beneficiary designated

on October 5, 2016, prior to the divorce were terminated pursuant to the applicable Idaho divorce

revocation statute. See Idaho’s Statue, I.C. § 15-2-804, Revocation of probate and non-probate

transfers by divorce.

         13.       Following the Insured’s death, Banner advised Mark Johnson, the Decedent’s

insurance agent, that the Insured’s beneficiary under the Life Insurance Policy was listed as

Monica Eggers, the Decedent’s former wife, and Idaho Code § 15-2-804 required that the Death

Benefit would be placed in the Estate.

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         14.       On or about June 4, 2019, Banner received a competing claim from Anderson’s

counsel alleging that the Insured had prepared and mailed a Change of Beneficiary Designation

naming Ms. Anderson as his sole beneficiary under the Life Insurance Policy prior to his death.

Attached hereto as Exhibit C is a true and correct copy of the letter dated June 4, 2019.

         15.       Banner advised counsel for Anderson that the Change of Beneficiary form was

received on April 5, 2019 but was not processed as it had not been completed prior to submittal

and that on April 9, 2019, Banner mailed a letter to the Insured requesting that he complete the

form and return it to Banner. The Insured never returned the completed form.

         16.       On November 8, 2019, Banner received a Proof of Loss Claimant’s Statement from

the Jordan Eggers in his capacity as the personal representative of the Insured’s estate.

         17.       On or about April 4, 2019 Jeremy Eggers applied for Accidental Death Insurance

coverage in the amount of $900,000.00 (the “Accidental Death Policy”).              Jeremy Eggers

completed an enrollment form (the “Accidental Death Enrollment”) naming Jordan Eggers as the

beneficiary of the Accidental Death Policy. Jeremy Eggers passed away before the Accidental

Death Policy was issued. A specimen of the form of the Accidental Death Policy that would have

issued is attached hereto as Exhibit D.

         18.       The Accidental Death Enrollment form was received and, on information and

belief, signed after the Change of Beneficiary Form for the Life Insurance Policy was signed and

received by Banner.

         19.       Because Jeremy Eggers passed away before the Accidental Death policy was

issued, no policy number was assigned to the Accidental Death Policy. The Accidental Death

Policy and the Life Insurance Policy are two distinct policies with distinct conditions for payment

of Death Benefits.

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          20.      Following Jeremy Eggers’ death, Banner determined that the Accidental Death

Policy was in force.

          21.      Jordan M. Eggers and/or the Estate of Jeremy Eggers are asserting a claim to the

Accidental Death Policy benefits in the amount of $900,000.00.

          22.      Anderson asserted a claim to the benefits payable under the policy numbered

181239991 as well as any separate or additional Accidental death and dismemberment benefit and

as such is asserting a competing claim for benefits under the Accidental Death Policy. See Exhibit

E attached hereto.

          23.      Due to the competing claims made by or available to Ms. Anderson and Jordan

Eggers, in his capacity as personal representative of the Estate of the Insured and individually,

Banner has not yet made payment of the Death Benefits under the Life Insurance Policy or the

Accidental Death Policy.

          24.      If the Court finds that the Life Insurance Policy Death Benefit is payable pursuant

to the October 5, 2016 designation and due to the divorce revocation statute, then the Death Benefit

under that Policy may be payable to the Estate as required by law.

          25.      If the Court finds that Jeremy Eggers is the named beneficiary under the Accidental

Death Policy, then the Death Benefit under that Policy may be payable to Jordan Eggers as required

by law.

                             THE APPROPRIATENESS OF INTERPLEADER

          26.      Banner claims no title to or interest in the Death Benefits Life Insurance Policy or

the Accidental Death Policy and is ready and willing to pay the Death Benefits to the person or

persons entitled to them, but Banner is unable to make that determination without exposing itself

to double or multiple liability on account of the potential competing claims of the parties.

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         27.       Banner has no means other than this interpleader action of protecting itself against

multiple conflicting or potentially conflicting claims and possible multiple litigation as to the

Death Benefits on the part of the parties.

         28.       Banner is a mere stakeholder in this action, having and claiming no interest in the

Death Benefits. Banner is ready and willing to deposit the Death Benefits, together with

applicable claim interest, if any, into the Court, or with a person duly authorized by the Court to

receive it.

         WHEREFORE, Banner respectfully requests that the Court issue an Order granting the

following relief:

    A.         Appointing the next friend and/or another appropriate individual as guardian ad
               Directing Banner to pay the Death Benefits, together with claim interest, if any, into
               this Court;

    B.         Directing the defendants to interplead their rights to such sum;

    C.         Restraining the defendants, and each of them, from instituting or maintaining any
               action against Banner to recover such sums;

    D.         Discharging Banner from all liability to the defendants arising out of the matters set
               forth herein upon payment of the Death Benefits, together with applicable claim
               interest, if any, into this Court;

    E.         Entry of an Order awarding Banner payment of its reasonable attorney’s fees and costs
               necessitated by the bringing of this action; and

    F.         Such other relief as is deemed just and proper.

         DATED this 24th day of January, 2020.


                                                 EBERLE, BERLIN, KADING, TURNBOW
                                                  & MCKLVEEN, CHARTERED

                                                 By           /s/Samuel A. Diddle
                                                   Samuel A. Diddle, Idaho Bar #4967
                                                      Attorneys for the Plaintiff
                                                      Banner Life Insurance Company
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RENEWABLE AND CONVERTIBLE TERM LIFE INSURANCE.
Banner Life lnsurance Gompany . 3275 Bennett Creek Avenue , Frederick, Maryland 21704 .800-638-8428

              Insured   -   JEREMY CLAY    EGGERS                                                                         Face Amount                                 -   $l,000,000

       Policy Numbar  - 1S1239991                                                                                                  Policy               Þate'             1010512016

             Owner(s) - JEREMY CLAY EGGERS

                        Details for Riders, if any, can be found on the Policy Schedule.


RIGHT TO EXAMINE POLICY FOR 30 DAYS
Within 30 days after the Policy is received, it may be returned to the agglt throrg[ whom it was
purchased or to our Home Office. We will then refund any premium paid and the Policy will be
deemed void from tha beginning.

READ YOUR POLICY CAREFULLY
This Policy is a legal contrãct between the Policy Owner and Banner Life lnsurance Company.

ln this Policy, Banner Life lnsurance Company              will be referred to as 'we," "our," or "u5."

We will pay the face amount to the Benefìciary if the lnsured dies while this Policy is in force, Such payment
will be subject to the provisions of this Policy.

All payments are subject to the terms of this Policy. The following pagôs are part of this Policy.

This Policy is issued in consideration of the application and of the payment of the first premium as provided
herein. A copy of the application is attached and is made a part of the Policy,

This Policy was âpproved under the authority of the lnterstate lnsurance Product Regulation Commission
and issueð under the Commission standards. Any provision of the Policythat, on the provision's effective
date, is in conflict with lnterstale lnsurance Produðt Regulation Commission standards for this product type
is hereby amended to conform to the lnterstate lnsurance Product Regulation Commission standards for this
product type as of the provision's effective date'

Signed for Banner Life lnsurance Company at ¡ts Home Office in Frederick, Maryland on the Policy Date'



  l*,(f,*--¿                                                                                                            President
     Secretary



      Renewable and Convertible Term Life lnsurancê.
      A change of premíum provision is applicable eubject to Guarantêed Maximum Premiums
      The face amount is payable at death while the Policy is in force prior to Expiration Date

      Premiums are payable as shown in the Policy Schedule to the Expiration Date or until the
      death of the Insured
      This Policy is renewablê to thê Expiration Date
      This Policy is convertible to the end of the Pol¡cy conversion period                                                                                                            JT}
      This Policy is nonparticipating and no dividends are payable                                                                                                             Lesal&\
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Concluded With:

Riders, benefits, amendments, and endorsements, if any; and copy of applications


PLEASE READ YOUR POLICY CAREFULLY




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                                                   POLICY SCHEDULE

INSURED:               JEREMY CLAY EGGERS                                                        POLICY NUMBER:                           181239991

                                                                                                 ISSUE DATE:                              09h4t2016
ISSUE AGE AND SEX:     40      MALE
                                                                                                 POLICY DATE;                             10/05/2016

                                                                                                 POLICY EXPIRATION DATE                   10t05t2071

OWNER:                 JEREMY CLAY EGGERS


RATING CLASS             PREFERRED PLUS NONTOBACCO



TERM PERIODS:     ,   INITIAL TERM PERIOD OF 30 YEARS, FOLLOWED BY ONE YEAR PERIODS
                                                                                 INITIAL                                                              INITIAL
FORM                                                    EXPIRATION     FACE     ANNUAL                                                              TERM
NUMBER           TYPE OF COVERAGE                          DATE      AMOUNT PREMIUM*                                                               PERIOD

tcc120PTN        RENEWABLE AND CONVERTIBLE TERM                                         10to5t2071                          $1,000,000                 30 years

tcc10 ADB        ACCELERATED DEATH BENEFIT                                                                                                FREE


                 POLICY FEE

                 TOTAL                                                                                                      $1,000,000




END OF POLICY CONVERSION PERIOD:1010412M6
PAYMENT MODE:                             MONTHLY
PREMIUM DUE DATE:                          5th of each month

"PREMIUM MODES AVAILABLE                     ANNUAL                         SEMI.ANNUAL                                     QUARTERLY    MONTHLY



For all years, and subject to rounding, modal premiums are determined by multiplying the annual premium by the following
factors:                            semi-annual   .51 quarterly.26                               monthly,0875



FOR MAXIMUM RENEWAL PREMIUMS FOR BASE COVERAGE                                      ,   SEE PAGE 34.




                                   ldaho Department of lnsurance's number is BAO-721-3272



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                                POLTCY SCHEDULE (CONTINUEÞ)

                      BASE COVERAGE: 30 YEAR RENEWABLE AND CONVERTIBLE TERM




                     BASE COVERAGE
                     MAXIMUM ANNUAL
      YEAR          RENB/VAL PREMIUM.

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                                         POLTCY SCHEDULE (CONTINUED)



                         BASE COVERAGE
                         MAXIMUM ANNUAL
       YEAR             RENEWAL PREMIUM-

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        44
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*PREMIUMS MAY BE CHANGED AFTER YEAR 30 AS PROVIDED IN THE CHANGE OF PREMIUM PROVISION. BASE
covÈnnce PREMIUMS INcLUDE PoLIcY FEE, AND ANY RATING OR FLAT EXTRA, IF APPLICABLE.



For all years and subject to rounding, modal premiums are determined by multipVjng the annual premium by the following
factors:-                       semJ-annual .51 quarterly .26 monthly '0875




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DEFINITIONS- All capitalized terms, not otherw¡se defined herein, shall have the meanings provided below

Beneficiary
The person to receive the proceeds payable at the lnsured's death.

Contingent Owner
The Contingent Owner is as named in the application or as subsequently changed by the Owner

Expiration Date
The Expiration Date is the end of the last Term Period. The Expiration Date is shown in the PolicySchedule. Afferthe
Expiration Date, no insurance will be provided underthis Policy'

Home and Administrative Office
Our Home and Administrative Office is located aI3275 Bennett Creek Avenue, Frederick, Maryland 21704'

lnsured
The lnsured is the individual shown in the Policy Schedule

lssue Age
lssue Age is shown in the Policy Schedule and is the lnsured's age as of the nearest birthdayon the Policy Date

lssue Date
The lssue Date is shown on the Policy Schedule, lt is the date we complete the processing of the lnsured's approved
application, and issue to the lnsured or the Owner this life insurance Policy,

Owner
The Owner is as named in the application, unless later changed by the Owner, lf no Owner is specified, the lnsured is
the Owner.

Poliry
Policy shall mean the life insurance policy specified in the Policy Schedule

Policy Date
The Policy Date is shown on the Policy Schedule. This date is used to determine premium due dates, policy
anniversaries, years, and months. Coverage will be effective on the Policy Date.

Renewal Date
A Renewal Date is the date on which the previous Term Period ended

Term Period
A Term period is the period of time that premiums are level. The Teîm Periods are shown in the Policy Schedule

Written Notice/Recording Thereof
Written Notice means a notification or request received from the Owner in a form satisfactory to us. Written Notices are
recorded at our Adminisfrative Office. We will not be responsible for the validity of any Written Notice.

GENERAL PROVISIONS

Contract
The entire contract consists of the following:

    .    This Policy, including any applicable endorsements,
    .    Riders, if any;
    .    Any notice of policy changes sent to the Owner for attachment to f his Policy;
    .    Thã application, including any supplemental application or amendment to the application; and
    .    Any application for reinstatement.


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An application includes all,sections and forms the Company has designated as parts of the application.

All slâtements made in an application are, in the absence of fraud, deemed representations and not warranties. No
statement will void this Policy or be used in defense of a claim unless it is contained in the application attached to, or
considered to have been attached to, this Policy when issued or delivered.

Only the President, a Vice Presidenf, or Secretary of the Company can change or waive any provision of this Policy.
Any change or waiver must be made in writing.

We may not change or amend this Policy without the Owner's consent except as expressly provided in the Policy.
However, we may change or amend this Policy if such change or amendment is necessary for it to comply with any
state or federal law, rule, or regulation.

lncontestability
Statements may be used to contest the validity of this Policy or in defense of a claim only if they are contained in the
application or in an endorsement or amendment, and a copy of that application, endorsement, or amendment is
attached to, orconsidered to be altached to, the Policyat issue or is made part of the Policywhen a change becomes
effective.

We will not contest this Policy after it has been in force during the lnsured's lifetime for two years from the lssue Date,
except for failure to pay premiums or fraud in lhe procurement of the Policy (when permitted by applicable law in the
state the Policy is delivered for issuance).

lf this Policy is reinstated, except for failure to pay premiums and fraud in the procurement of the reinstated Policy
(when permitted by applicable law in the state the Policy is delivered for issuance), it will be incontestable after it has
been in force during the lnsured's lifetime for two years from the effective date of the Reinstatement. The
lncontestability period will be based only on statements in the most recent applications, unless the originalcontestable
pe¡od has not yet expired. Any Policy change requiring undenrrriting will be incontestable after it has been in force
during the lnsuied's lifetime for two years from the effective date of the change, Any Policy change will be contestable
only for reasons pertaining to statements that were provided to us for the Policy change.

Misstatement of Age and Sex
lf the lnsured's age òr sex has been misstated, we will pay the death benefit that the most recent
                                                                                                    premium paid would
have purchase¿ ãt the correct age and sex. lf the correct age is outside of the issue age ranges,  the premium and
benefit will be extrapolated.

Suicide Exclusion
lf the lnsured, while sâne or insane, dies by suicide within two years from the lssue Date or date of reinstalement, our
liability will be limited to.a refund of all premiums paid to us.

Nonparticipating
This policy is noñparticipating and the Owner will not share in Banner Life lnsurance Company's profits or surplus. No
dividends are payable on this Policy.

TERMINATION

All coverage under this Policy will terminate al the earliest   of:


     1.   The end of the Grace Period, if as described in the Grace Period provision, the minimum premium due was not
          received;
    2.    The   date we receivô Written Notice at our Administrative Office to terminate the Policy;
    3.    The   date of the lnsured's death;
    4.    The   Expiration Date specified in the Policy Schedule; or
    5.    The   date the Owner converts to a new Policy.




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OWNER AND BENEF¡CIARY

The Owner, primary Benefìciary, and contingent Beneficiary are as shown in the application or a notice of change that
has been received at the Home Office in a form acceptable to the Company. The designation of Contingent Owner is
as shown in the application or as subsequently elected by the Owner in a Written Notice received at the Hôme Offìce in
a form acceptable to the Company. lf the lnsured becomes the Owner, any designation of Contingent Owner is void.

The Owner has all rights stated in this Policy. The rights of the Owner are subject to the rights of any irrevocable
Benefìciary or assignee we have on record.

lf the Owner is other than the Insured and the Owner dìes during the lnsured's lifetime, all rights of the Owner vest in
the Çontingent Owner, if living or in existence, and the Contingent Owner becomes the Owner. lf the Contingent Owner
is not alivsor in existence at the Owner's death, all ownership rights vest in the Owner's estate or successors. ln the
event the owner is other than an individual, and there are no surviving contingent owners or successors to the owner,
then the lnsured or the lnsured's estate becomes the Owner.

Ghanges of Owner and Beneficiary
The Owner, Contingent Owner, primary Benef ciary, and contingent Benefìciary âre as shown in the application, unless
later changed by the Owner. The Owner may change the designalions of Owner, Contingent Owner, and Beneficiary
during thelnsured's and the Owner's lifetime. Any change of the irrevocable Benefìciary is subjecl to the written
consent of an irrevocable Beneficiary.

Writfen notice of change of the Owner, Contingent Owner, and Beneficiary must be received at the Home Office in a
form acceptable to f he Company. Any change will then take effect as of the date the Owner signed the notice unless
othen¡¡ise specified by the Owner. Such a change shall be subject to and not affect any payment made or other action
taken by the Company before Written Notice is received.

Death of a Beneficiary
Unless otherwise provided in the Beneficiary designation:

    1.   The interest of any Beneficiary who dies before the lnsured will pass to any surviving Beneficiaries according
         to their respective interests; or
    2.   lf no Beneficiary survives the lnsured, the proceeds will be paìd to any surviving contingent Beneficiary
         according to thåir respective interest. lf no Benefìciary or contingent Beneficiary survives the lnsured, the
         proceeds will be paid in one sum to the Owner, if living; otherwise, to the Owner's estâte.

lf a trust is named as the Owner or Beneficiary of this Policy, the Company will have no obligation to verify that the trust
is valid or that a trustee is acting within the scope of that trustee's authority. Any payment to the trust will release
                                                                                                                         the
Company from all obligations under thìs Policy and the Company will have no obligation to ensure that such           payment is
applied according to the trust âgreement.

Assignment of Policy
This Þolicy may be assigned. We will not be responsible for the validity of an assignment. Written Notice of an
assignment must be reeãived by our Home Office in a form acceptable to the Company The assignment will then take
effect as of the date the Owner signed the notice unless othenruise specified by the Owner. Such a change shall not
affect any payment made or other action taken by the Company before Written Notice is received. Payments to any
assignee will only be made in a lump sum.

PREMIUMS

Payment of Premiums
lfrå f¡rst premium must be paid durìng the lnsured's lifetime before any insurance becomes effective. The due date of
the first premium is the policy Date. Each subsequenf premium is due on the premium due date(s) shown in the Policy
Schedule, and must be paid during the lnsured's lifetime. The Owner may change the frequency of the premium
pâyment to anyfrequencywe offeion the date such change is requested. All premiums, afterthefirst, are payable in
advance at our Administrative Office. A premium receipt signed by one of our officers will be furnished upon request. ln
no event may premiums be paid beyond the Expiration Date.
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Grace Period
Except for the first premium, we will allow a 31 day grace period after the premium due date to pay each premium.
During the Grace Period, the Policy will remain in force. We will send notifìcation of the Grace Period and the minimum
premium due to the Owner's last known address and to any assignee of record at least 30 days prior to the date the
Policy is to terminate.

lf sufficient premium is not paid, all coverage under this Policy will terminate without value at the end of the Grace
Period. Sufficient premium payment sent by U.S. mail must be postmarked within the Grace Period. lf death of the
lnsured occurs during the Grace Period, we will subtract the premium amount required to provide insurance coverage
to the end of the Policy month in which the date of death of the lnsured occurred from the Death Benefìt Proceeds.

Reinstatement
A Policy which terminates in accordance with the Grace Period provision may be reinstated       if:


    1.   WriftenrequestforReinstatementismadewi{hinfiveyearsaftertheexpirationoftheGracePeriodandbefore
         the Expiration Date of the Policy. The reinstated Policy will be in force from the latter of the date we approve
         the application for Reinstatement and the date required premiums are paid;
    2.   The Owner submits a written application;
    3.   Evidence of the lnsured's insurability is received and approved by us; and
    4.   All due and unpaid premiums, including back payments, with interesl payable at an annual rate of [6%] are
         paid.

CHANGE OF PREMIUM

We may, at our sole discretion, change the premium for this Policy after the initial Term Period, exclusive of any riders,
subject to the following:

    1.   The annual renewal premium for this Policywill not exceed the maximum annual renewal premium shown in
         fhe Policy Schedule;
    2.                       not be changed more than once during any 12 month period;
         The pr.emium may'Owner,
    3.   We will send the           af the address in our records, a Written Notice of any change in premium at least 30
         days before the date   on  which  the change will be effective;
    4.   Any change of    premium   will be based on our expectations as to future experience for such elements as
         persistency, expenses, mortality, taxes, and investment eamings;
    S.   The modaipremium will be calculated on the same basis as used on the lssue Date of this Policy;
    6.   Any change in premium will be on a uniform basis applying to all policies with the same issue age, sex, rating
         clalsificatlon, duration, and plan of insurance as this Policy. A change of health will not cause a change of
         premium;and
    7.   Any change in premium willtake effect on the Policy anniversary date following the date we make the change,

RENEWAL

Renewability
This policy may be renewable for additional Term Periods, Evidence of the lnsured's insurability need not be furnished
Renewal will occur only if premiums have been paid to the Renewal Date. This Policy, however, will not continue
beyond the Expiration Date.

Effective Date of Renewal
The renewal premiu m must be paid within 3'1 days of the Renewal Date in order for the renewal to become effective. If
the lnsured dies during this period, the Policy will be renewed automatically and the portion of the renewal premium
required to provide insurance from the premium due date to the end of the Policy month in which the lnsured's death
occurs will be deducted in the calculation of proceeds payable'

Renewal Premiums
The maximum annual renewal premium rates forthis Policy, including riders and benefìts, are shown in the Policy
Schedule,




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Automatic Renewal
This Policywill be automaticâlly renewed on the Renewal Date                                   if:


    1.     This Policy contains a total disability benefit; and
    2.      Premiums are being waived to the Renewal Date under such disability benefit.

We will waive renewal premiums as long as the lnsured continues to be totally disabled under such total disability
benefì1.

CONVERSION

This Policy may be converted to a new policy on the lnsured's life, Evidence of the lnsured's insurability is not required
Any conversion will be subject to the following:

    1.     Occurring on any premium due date, but not later than the end of the Policy conversion period shown in the
           Policy Schedule;
    2.     Receipt of the Owner's written rêquest and application for conversion;
    3.     Payment of the first premium for the new policy;
    4.     The Owner returning this Policy to us; and
    5.      Except for as provided in the Automatic Conversion provision, no conversion shall occur while the lnsured is
           totally disabled under the terms of â total disability benefit.

The new policy will be issued:

     1.    With the date of conversion as its Policy Date;
    2.     At f he lnsured's age on the date of conversion;
    3,     With the same rating classification as that under this Policy;
    4.     On any permanent life plan which we, at our sole discretion, make available for conversion and, forthe amount
           converted, we customâ¡ly issue on the date of conversion to applicants with the lnsured's rating classification;
    S.     With premiums based on our rates for the rating classification and plan of insurance on the dale of ennversion;
    6.     For an amount of insurance not less than our minimum for the plan provided nor greater than the face amount
           of this policy on the conversion date. At least one plan of insurance will be available for conversion in an
           amount equal to the face amount of this Policy on the conversion date;
    7.     So that the time limit specified in the lncontestability and Suicide provisions of the new policy will be measured
           from the lssue Date of lhis Policy; and
    B.     Subject to âny assignment of this Policy received at our office.

The new policy will contain a tolal disability benefit if;

     1.    This Policy contains such benefit in force on the date of conversion;
     Z.    On the date of conversion, we customarily issue such benefit to applicants with the lnsured's age, sex, and
           rating classificafion; and
     3.    On tñe date of conversion, we customarily issue such benefit in conjunction with the plan to which the lnsured
           converts.

lf more than one type of total disability benefit is available on the date of conversion, the benefìt attached to the new
policy will be the benefit with the lowest premium.

Automatic Conversion
This policywill be converted to a permanent life plan selected by us at the end of the Policy conversion period                                                      if:


     1. This Policy contains a total disability benefit;
     2. The lnsured is totally disabled under the terms of the disability benefit at the end of the Policy conversion
           period; and
     3.    Such disability continued during the six months prior to the end of the Policy conversion period.



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The new policy's premiums will be based on the lnsured's age on the date this Policy is converted. The new policy will
be issued for an amount equal to the face amount on this Policy on the conversion date. Any premium falling due while
the lnsured continues to be totally disabled will be waived'

DEATH BENEFIT PROCEEDS

The life insurance proceeds payable at the lnsured's death will be (1) plus (2) plus (3) minus (4) where:

    (1)   ls the face amount of this Policy, shown in the Policy Schedule;
    (2)   ls any insurance on the lnsured's life provided by riders;
    iS¡   ts tfre portion of any premium paid for a period beyond f he Policy month in which the lnsured's death occurs;
          and
    (4)   ls any premium which is due and unpaid for a period from the premium due date to the end of the Policy
          month in which the lnsured's death occurs.

The paymenl of interest on the death benefit shall be as follows:

    1.    lnteresf shall accrue and be payable from the date of death.
    2.    lnterest will accrue at the rate or rates applicable to the Policyforfunds left on deposit. ln determining these
          effective annual rate or rafes, lhe Company shall use the rate in effect on the date due proof is received by the
          Company.
    3.    lnterest will accrue at the effective annual rate determined in ltem 2 above, plus additional interest at a rate of
          '10% annually beginning with the date that is 31 calendar days from the lâtest of ltems (a), (b), and (c) to the
          date the claim is Paid, where it is:
          a.   The dale that due proof of death is received by the Company;
                                                                                                                      payee
          b.   The date the Company receives sufficient information to determine its liability, and the appropriate
               legally entitled to the proceeds; and
          c.   The date that legal impediments to payment of proceeds that depend on the action of parties other than
               the Company are resolved and sufficient evidence of thô sâme is provided to thê Company' Legal
               impediments to payment include, but are not limited to: (i) the establishment of guardianships and
               conservatorstrips; iii)the appointment and qualifìcation of trustees, executors, and administrators; and
               (iii) the submission'of information required to satisfy any slate and federal reporting requirements.

We will not pay the death proceeds until we receive all of the following at our Administrative Office:

    1.    This Policy or a completed and notarized lost policy affidavit;
    2.    Due proofof death, satisfactory lo the Company, that the lnsured died while the Policy was in effect;
    3.    A written claim for the death proceeds completed on a form fhat we supply; and
                                                                                                                 provision
    4.    lf this policy or a policy change or reinstatement is contestable as set forth in the lncontestability
                                                                                                                     us to
          when the lnsured died, an auihorization, on a form that we supply, from    a  person  authorized toallot¡¿
          obtain and disclose information about the lnsured.

We reserve the right to require the retum of the Policy at time of settlement.

PAYMENT OF PROCEEDS
                                                                                                  part of this sum may
Any amount payable under this contract will be paid in one sum unless othen¡¡ise provided. All or
be applied to any Payment Option. However, options will not be available if:

    1. The net proceeds are less than $2,500;
    2. The amount of each payment is less than $50; or
    3. lnthecaseof Payment-Option1,3, or4,thepayeeisnotanaturalperu;onreceivingpaymentinhisorher
          own right.

proceeds lefi with us may be withdrawn by Written Notice where such right is given. We reserve the right to postpone
pâyment of any withdrawal for as long as six months from the date we receive Written Notice'

We may require evidence of the survival of any payee before any settlement payment payable to the payee is made.


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ELECTION OF PAYMENT OPTIONS

By Owner
During the lnsured's lifetime, the Owner may elect any Payment Option and may change such election if he or she has
reserved the right to do so.

lf the Owner elects a Payment Option for the Beneficiary,                  the Beneficiary may not:

    1. Change or cancel the election;
    2. Assign or transfer the amount held by us; or
    3. Withdraw any future installments or unpard inÍerest installments                                      unless these rights are granted in the election.

By Beneficiary
lf the Owner does not elect a payment option, the Beneficiary may do so after the lnsured's death,

Such election by the Beneficiary:

    1. Must be made before the payment of any Policy proceeds has been made; and
    2. Shall be effective as of the date of the lnsured's death.
Conditions of Election
Any election or change must be made by lVritten Notice to us. No election or change will be effective until we record it.

PAYMENT OPTIONS

The annuity benefits at the time of their commencement will not be lese than those that would be provided by the
application of the cash surrender value to purchase a single consideration rmmediate annuity contract at purchase
rates offered by the Company at the time to lhe same class of annuitants whetherthe annuity benefits are payable in
fixed or variable amounts, or both.

The following sections describe the payments options available under this Policy.

Opt¡on1-Atlnterest
The proceeds may be lefr with us to draw interest. lnterest may be paid annually, semi-annually, quarterly, or monthly
The first payment will be made at the end of the interesl frequency period chosen. The guaranteed interest rate is
1.5%, compounded yearly. lnterest shall not be paid beyond f he lifetime of one payee except with our consenl'

Option 2 - Payments of a Fixed Amount
Under this option, the Company will make monthly payments in the amount chosen until the proceeds and earned
ìnterest have been paid in full. The total amount paid each year must be at least 57o of the original proceeds. The
length of the payment period will depend on the amount chosen the amount of the proceeds applied, and the amount of
inleresl earned.

Option 3   - Payments for a Fixed Period
We will make payments for a fixed period. The amount of each payment, per $'1,000 of Policy proceeds, will not be less
f han thal shown ìn Table A. At the payee's death, we will continue to pay the balance of the unpaid
                                                                                                     payments to the
payee's Benefìciary.

Option4-Lifelncome
We will make equal monthly payments during the payee's lifetime, with a minimum period guaranteed (60 or 120
months). Payments will end with the last monthly payment before payee's death. The amount of each payment, per
$1,000 of Policy proceeds, will not be less than that shown in Table B-




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Evidence of Survival
We have the right to require satisfâctory proof of âny payee's age. The   right. to change options is not available after
payments commence under this option.

Baeis of Valuea
The Payment Option fables are based on an interest rate of 1.5% compounded yearly. For options involving lifetime
income, mortality rates are based on the 2000A Mortality Table. We may offer more favorable rates than those
determined on this basis.

Additional Options
Any proceeds payable under this Policy may be paid under any other method of payment agreed to by us at the time of
seftlement,




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                                    PAYIT4 E        NT OPTION TABLES

                  Table A   -   Monthly Payments for Each $l,000 of Proceeds



                                     Number of                                        Monthly
                                       Years                                         Payments

                                             5
                                             b
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                            Table B, Monthly Payments for Each $l,000 of Proceeds


                            LIFE ONLY                                                LIFE WITH PERIOD CERTAIN
                                                             Years     10 Years
                                                                           5
      Age           Male           Female                Male Female Male Female
     50            3.24              3,00                           3.24                        3,00                                3.22      2.99
     5'r           3.32              3.û6                           3.31                        3.06                                3.29      3.05
     52            3,39              3.13                           3,38                        3.12                                3.3ô      3.1   1

     53            3,47              3,'19                          3.46                        3,19                                3.44      3.18
     u             3.55              3.26                           3.54                        3.26                                3.5'1     3.25
     55            3.63              3,34                           3,63                        3.33                                3.60      3.32
     56            3.73              3.42                           3.72                        3.41                                3.68      3.39
     57            3.82              3.50                           3.81                        3.49                                3.77      3.47
     5B            3.92              3.59                           3.91                        3.58                                3.87      3.56
     59            4.03              3.68                           4.42                        3,67                                3.97      3.64
     60            4.15              3.78                           4.13                        3.77                                4.07      3.74
     61            4,27              3.88                           4.25                        3.87                                4.19      3.83
     62            4.40              3.99                           4,38                        3.98                                4.30      3.94
     63            4.M               4.11                           4.52                        4.09                                4.43      4.05
     M             4.69              4.23                           4.66                        4.22                                4.55      4.16
     65            4.85              4,37                           4.81                        4.35                                4.69      4.28
     66            5.02              4.51                           4.98                        4.49                                4.83      4.41
     67            5.20              4.66                           5.15                        4.M                                 4.98      4.55
     68            5.3S              4.83                           5,33                        4,80                                5.13      4.69
     69            5.60              5.00                           5.53                        4.97                                5.29      4.84
     70            5.82              5.'19                          5.73                        5,15                                 ñ¿E      5.00
     71            6.05              5,40                           5,95                        5,34                                 5.62     5,17
     72            6.30              5.62                           6.18                        5.55                                 5.79     5.34
     73            6,57              5.85                           6.42                        5.78                                 5.96     5.52
     74            6.85              6.'11                          6.67                        6,02                                 6,14     5.71
     75            7.15              6.39                           6.94                        6.28                                 6.32     5.91
     76            7.48              6.69                           7.22                        6.55                                 6.51     6.11
     77            7.82              7.01                           7.52                        6,84                                 6.69     6.3'1
     78            8.19              7.37                           7.83                        7.16                                 6.87     6.52
     79            8.59              7.75                           8,15                        7.49                                 7.05     ô.73
     80            9.02              8.16                           8.49                         7.U                                 7.22     6.93
     81            9.47              8.61                           8.85                         8.21                                7.39     7.14
     82            9.95              9.09                           9.21                         8.60                                7.56     7.33
     83           10.47              9.62                           9.59                         9,01                                7.71     7.52
     u            11.02             10.1 B                          9.97
                                                               '10.37
                                                                                               9.44                                  7.86     7.69
     85           1 '1.61           10.80                                                      9.87                                  8.00     7.86
     B6           12.24             11.46                      10.76                          10.32                                  8.13     8.01
     87           12.91             12.16                      11.17                          14.77                                  8.24     B.15
     88           13.62             12.92                      1'1.57                         11.22                                  8.35     8.27
     B9           14.37             13.rt2                     11.97                          11.66                                  8.45     8.38
     90           15.17             14.56                      12.37                          12.10                                  8.54     8.48
     91           16.42             15.43                      12.77                          12.52                                  8.61     8.56
     s2           16.92             16.35                      '1
                                                                    3.1 6                     12.92                                  8.68     8.64
     93           17.87             17.30                      13.54                          13.31                                  8.74     8.71
     94           18.88             18.30                      '13.91                         13.69                                  8.80     8.76
     95           19.97             19.33                      14.28                          '14.05                                 8.84     8.81


lncome Paymenfs for ages not shown furnished upon request. The values above are based on 1.5% and
the 20004 Mortality Table, Age above is based on age nearest birthday.



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                      3275 Bennett Creek Avenue
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            AMËÊIêÀ   800{38-8428                                                                                                                             Amendment




 This Amendment is attached to and becomes part                                               interest to you at the rate specified in section
 of the policy.                                                                               28-22-104 (2), ldaho Code as established and in
                                                                                              existence at the time of the surrender demand."
 The Payment of Proceeds provision of the policy is
 amended to include the following;                                                            This Amendment is effective on the policy date of
                                                                                              the policy to which it is attached,
 "lf we defer paymenf of a cash surrender value
 under the provision of this section, we shall pay




                                                                                                                        President




LU- 1 023



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           IF            Banner Llfe lnsurance Gompany
                         3275 Bennett Creek Avenue
  Gëneral                Frederick, Marylancl 21 704
           ÄMgÊtca       800438-8428                                                                                  SUPPLEMENT TO THE APPLICATION

                                                                                                                          Policy Number:   1   B   1239991




                                                             HEALTH STATEMENT
 This statement is required because the above-numbered policy has not been delivered to the applìcant or proposed
 insu red withi n the company-prescri bed li m its,

 PartA is to be completed if there has been no change in health of anyof the proposed insured(s) and/orPart B isto be
 completed if there has been a change in health of any of the proposed insured.

 A.   tr    No Change in Health far
                                          (First and last names of each proposed insured)


      I declare that since the date of the last med ical examination or non-medical application for insurance with
      Banner Life lnsurance Company:

      '1. the health, mental and physical condilion of any person(s) named above to be covered underthe policy
      has not changed; and

      2. that any person(s) named above proposed for insurance underthis application has not had any illness or
      injury, consulted or been examined by a physician, had life, accident or health insurance postponed, rated
      up, ridered, declined, cancelled or renewal of reinstatement refused.

 B         Change in Health for
                                     (First and last names of each proposed insured)


Please provide details below:

      Name of Proposed                    Date of                                  Reason for Medical                                      Name and Address
             lnsr rred                       Vicif                           llon                   ion/Treafment                              of Docfor




I represent that, to the best of my knowledge and belief, these statements are complete and true and agree that this
statement and the answers given herewith will be made part of the new contract, if issued. The completion of any
transaction for which this statement is made is conditioned upon the payment of any amount due to Banner Life
lnsurance Company on accounf thereof and the approval of this statement by the company at its Home Office. lf such
approval is refused, any such paymenf will be returned.

Authorization is hereby given any licensed physician, medical practitioner, hospital, clinic or other medical or medically
relafed facility, insurance company, the Medical lnformation Bureau or otherorganization, inslitution or person that has
any records or knowledge of any proposed insured or their health to give to Banner Life lnsurance Company any such
information. A photographic copy of this authorizalion shall be as valid as the original.


Proposad lnsur€d                                                                                               Data



Applícant (if othêr thân Proposed lnsured)


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                                        BANNER LIFE INSURANCE COMPANY

                                                     Frederick, Maryland


                                          AMENDMENT TO APPLICATION


PROPOSED INSURED        - JEREMY CLAY EGGERS
FILE NUMBER     -    18123999,1                                        DATE OF APPLICATION                                              -             0711212016



        THE BANNER LIFE INSURANCE COMPANY IS HEREBY AUTHORIZED TO
        AMEND THE APPLICATION IDENTIFIED ABOVE IN THE FOLLOWING MANNER:

        Part 2 Question #4 shall read: 2009 Vasectomy. Full recovery.
        Part 2 Question #5 shall read: 1l3Dl14 Routine CDL physical, not prompted
        by any symptoms or abnormal findings, and all results were found to be
        within normal limits.
        Part 1 Queslion#27 shall read; No.




       IT IS AGREED THAT THIS AMENDMENT SHALL FORM A PART OF MY APPLICATION AND
       THAT A COPY HEREOF IS TO BE ATTACHED TO THE POLICY.




                 Proposed lnsured's Signature                                                                                                            Date


                 Signature of Policy Owner                                                                                    Title, if owner is Business or Trusl
LU-14(s4-62)



                                        EXHIBIT A
BANNER LIFE INSURANCE COMPANY

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                  Banner Life lnsurance Company
                  3275 Bennett Creek Avenue
                  Frederick, Maryland 21704
 Gãneral          800$38-8428
        ÀMÊnrc4   www.LGAmerica.com                                                                                          ACCELERATED DEATH BENEFIT

This rider provides for an accelerated death benefit payment to the Owner of the policy during the lifetime of
the lnsured subject to eligibility requirements. An accelerated death benefit payment, hereaftar referred to ae
an ADB, will reduce the policy's death be nefit proceads otheruvise payable and limit the availability of any
policy cash surrender value and/or any available loan value. This rider is not intended or designed to
provide health, nursing home, or long-term care. There âre no restrictions on the use of an ADB.

The policy owner should seek assistance from a tax advisor regarding the tax status of any ADB payment.


ln this Benefit Rider, Banner Life lnsurance Company will be referred to as "we"," our" or "us" or "company". The
"policy" is the policy to which this rider is altached. Coverage pursuant to this rider begins on the same date as the
coverageforthepolicy, Thisriderissubjecttoalltermsandconditionsofthepolicy,exceptasprovidedinthisrider
Theriderismadepartofthepolicyonthepolicyissuedate, Forpurposesofthisrider,theinsuredisasdefìnedin
the policy.

BENEFIT
We will make an accelerated death payment subject to the provisions of this rider. An ADB payment will require:
   1. The Owner's written request, sent to our home office, for an ADB payment.
   2. Proof that is acceptable to us that the Owner is eligible for receipt of an ADB payment.
   3. A signed acknowledgement of concurrence for payment from all irrevoÊable beneficiaries and any assignee
        on the policy. lf the company paying the ADB is itself the assignee underthe policy, no signed
        acknowledgement is required.
   4. A full release of any collaferal assignment of fhe policy with the exception of collateral assignment to the
        company.
   5. That, if the policy is a term in$urance, it cannot have less than twelve months remaining until the maturity
        clate on the date that payment is to be made.
   6. That the policy has not been voided and is not being contested.
The ADB will be paid to the Owner or Owner's estate while the insured is living, unless the benefit has been
otherwise assigned or designated by the Owner. The payment of the accelerated death benefit is due immediately
upon receipt of the due written proof sufficient by the company to confirm eligibility for the ADB.

We will nof make an ADB if fhe policy is being continued as extended term insurance or reduced paid-up insurance
on the date payment is to be made.

BENEFIT LIMITS
The maximum accelerated death benefit is the lesser of:
   1. 75o/o of the policy's primary death benefit as determined on the date that the company approves payment of
       the ADB; and
   2. $500,000.
This amount is further reduced by any outstanding policy loan, with accrued interest, on the date of payment of the
ADB.

ADB ELIGIBILITY REQUIREMENTS
To be eligible for an ADB payment the Owner must provide to us:
    1. evidence acceptable to us thal f he lnsured is living and has a med ical condition thât is reasonably expected
        to result in a life expectancy of twelve months or less; this evidence must include, but is not limited to,
        certification by a physician f hat we approve who is licensed to practice medicine in the United States or
        Canada and is acting within the scope of that license.




                                      EXHIBIT A
ICCIO ADB                                                                         1



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    2.   evidence that election of this benefit is voluntary and without coercion on the part of any third party, including
         any creditor or government agency.
    3.   evidence that only one of the lnsureds is living, if the policy is a last survivor policy.

Additionally, the company has the right to require a second or third medical opinion to confìrm benefit eligibility,
Such second and third opinions are at the company's expense. The second medical opinion may include a physical
examination by a physician designated by the company. ln the case of conflicting opinions, eligibility for benefits
shall be determined by a third medical opinion that is provided by a physician that is mutually acceptable to the
Owner and the Company,

EFFECT OF THE ACCELERATED DEATH BENEF¡T
The ADB will be treated as a lien âgainst the policy's death benefit. Such lien will limit the availability of any
surrender benefit and any future policy loans, policy wif hdrawals or policy surrenders.

Prior to, and concurrent with, the election to receive an ADB, the owner and irrevocable beneficiary will be given a
statement demonstrating the effect of an ADB on the policy's cash surrender valuôs, death benefit, and policy loans

The lien amount will at any time equal:
    1. the amount of the ADB payment to the owner; plus
   2. the administrative fee; plus
   3. the amount of any premium required to remove the policy from the grace period; plus
   4. any unpaid required premiums added to the lien as described below; plus
   5. accrued lien interest charges as described below.
For the amount of the lien equal to the policy's cash surrender value at the time the lien is in effect, interest will be
charged at the policy loan interest rate stated in the policy. For the amount of the lien in excess of such cash
surrender value, interest will be charged al â rate that is no greater than the greater of:
    1. the current yield on a 90-day treasury bill on the date of the ADB payment; and
    2. the current maximum adjustable policy loan interest rate allowed by law on the date of payment subject to
        the lnterstate lnsurance Product Regulation Commission standards.

Affer the compâny makes an ADB payment, the Owner will be liable for premium payments required to keep the
policy,andapplicableriders,inforcethroughthedateofdeathofthelnsured.             Anysuchpremiumpayments,if not
paid to the company, will be added to the lien. Cost of insurance charges, if applicable, will continue to be charged
against the policy (unless being waived because of a waiver of monthly deduction benefit that is in effect). Waiver of
premium benefits, if in effect following payment of an ADB, will continue fo apply.

Subsequent to payment of an ADB, upon the death of the insured the proceeds payable will          eq ual   the death benefit
proceeds, as defined in the policy, less the total lien in effect at the date death.

lf the policy has an accidentaldeath benefit provision, that provision shall not be affected by the payment of the
accelerated death benefit.

ADDITIONAL PROVISIONS

There is no premium or cost of insurance charge for this rider. However, ân administrative fee that will not exceed
$250 will apply at the time the ADB is paid and it will be added to the lien.




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The policy's primary death benefit is the death benefit provided by the policy. lt does not include any accidental death
benefits, the death benefit provided by any riders, or death benefits payable due to the death of anyone otherthan the
lnsured, lfthepolicydoesnotprovideforpolicyloans,theloanvalueisdefinedaszero. lfthepolicydoesnot
provide cash surrender values, the cash surrender value is deflned as zero.

INCONTESTABILITY
The policy's incontestability provision will apply to this rider

PAYMENT OPTIONS
The ADB will be payable to the Owner as a lump sum payment

lf the policy has a cash surrender value, the available ADB will be at least 75% of any such cash surrender value,
where such cash surrender value reflects the deduction of any outstanding policy indebtedness.

lf the insured dies after the owner elects to receive an ADB, but before f he Owner receives such benefits, the election
is cancelled and the death benefil is paid pursuant to the policy.

REINSTATEMENT
The policy's reinstatement provision will apply to this rider.

TERMINATION
This rider will terminate on the earliest of:
    1. the date of mâturity or termination of the policy;
    2. when a nonforfeiture option has become effective under the policy; or
    3. at the date the Owner's written request for termination is signed; this request must be received in our home
            office.

lf at any time the total lien amount equals or exceeds the policy's death bgnefit proceeds as defined in the policy, the
policy will terminate. Termination will occur 31 days after the company hàs mailed a notice of termination to the last
known address of the Owner, unless all or part of the lien amount is repaid with 3'1 days after the noticed is mailed.
We will accept a partial repayment only if the death benefit proceeds of the policy would exceed the lien amount after
the partial repayment is applied.

Termination shall not prejudice the payment of benefits if the insured became eligible for an ADB while the policy was
in force.

This rider is subject to the conditions of this policy. Where a confl ict between the rider and the policy exists, the
conditions of the rider will control.

The issue date of this benefit is the policy date, or a later date if shown here

Signed for us at our home office in Frederick, Maryland.




     l*,(ru*Á   Secretary                                                                                                             President




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           7.     fl¡gll l¡l0od prê*c}ro, higlt dtolsskrd. ùrurnnl dncfloe¡ñúÐüu¡lj r.hcs
                  ¡uh,    kro¡¡Uh' lnal$ rh¡lrnr, poþiblíøE,lsãrt il[rnt$r. [0fl] rlhdf. f,n{h¡,
                  d¡¡cb'sb, f¡e¡i¡J¡erd rescular di¡!¿¡e, ol ¡l¡t otlmr &û60 dt.i¡liitlsrd
                 .ltþ hrerlor b{ood     vpss¿is?.,.,,.                  ,-,,..,,..4,.-,..,,.-i.,..

          8.     lldpeftrir, rrlcfl. ir¡tÊro¿t btqnt¡trÐ,   coit¡ris,   îcld tstu( G[ftí], oi.rry   dru
                 dljHfir 0f    din[rdEr o{ thn   strrrlrh,   g¡ll_Uhdrler, nnn¡{rogu1 lfua. Ë¡rclEt!!,
                 tpfo0n, k{fslirq€, tdotl, or tc{rh{n?.--,.....-.....,.,--....._

          0.     À dfuûrdn ol yuur btørt u ¡$nrrú qÊÈfit i¡dudful ansn¡b, bkÞd ctot,
                 b'lercfng, lmolune rlel¡cilncy, üd'efih. ü'ryir{tlßrn {erdudns ilMf,..,....."...,


        lccû0.r r^ ftq/001                                                                   P¡ßr    t




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                                                                                                                                                          'PART 2. Hrdud tthtry (corltnrd)

              Nenrn ol pnposnd larunrl                                                                                                     Ys¡        l,lo         fu nr*r_--Er¡lrh All   llr   A[smn

     lfl,      Cancer, lunrÒr,mêluoma,0t ünyulhrnìt¡lgflanldisudcl?.,..:..........1.;-....,....:.


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                  llryrulù. nr orulærlnc glendi'l     .



    12         Arbunrln, proreln, brood or -r*.T
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                                                      ::: ...,.-...                                                            .


    13, Cysl, poltp, lunrp, or othor grôurth, or ¿ny d¡$ûse ûr disotder 0l llË slin'0r
        lyfDph r¡0dé¡7 .-...-..,.....,..,...,..,..,,,,,,...

    1    4.           rlìse¿se or di¡¡l.ibr olllro ut[ltß, rûNh, övstí06, 0f brt¡$ß? -..,.,,,,,.,.......,.-
              ^ny
    15. Any dþõs¡ 0. rtlsordcr ol lhe prolhfd ol reproductlvg ¡ystgrT,,,.,..,,,.,,...-,,,..,.,.

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   ì/.        Pragnancy, cunpliËalionr 0l Fegnarcl 0l inlslilltf
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    16. Àith¡nã, shortmsr 0l brsdlhì c¡rfiiÊ cor{h or hournes, blonchlÈc
        emplìFsInå, COPD Ichmnic obhucliræ pulmonry disersel, larcoldo¡]r,
        preumonia, lE (lùbarcululh), rleep pnoa, Dr orTy 0ll¡r db0nt6r 0l lho
              rcrjiií!tr*y r¡stem?

    I0.       A dísoder of lho br¿h, süriôi    r¡rrl, 0¡ nsnluur slsldn including ctronic
              hearhcjws. ær¡ltlblon¡ ø,lo¡g ol c¡nschusness, sciarzs, lernul, prr{¡sig
              lrlnlirrg, slrokr, MS (rrulliple $demsls|, 0r llÁ (trarulrrd lrcher¡lc atlsdr)?..,.,,,..

   20, Depession, rnrluty, pychosis, suiciûl [úu¡ht$ ilr rltetnpts                               ùt     c'¡cil,
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              olùel rnefltal, noryntrs or anrotlon¡l dlsorder?1,....,,.'.,.....-,,,-.,.,,,.,;..,,-......-.,.,,..

   I L',q¡lhrltis            or rlbdder 0l th0 tronos, sldn'ol      rnu¡clc¡?.,,.,.,.,.,,,.,4,,,i.,,*.*r-;.,,F

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              h. llsd ¿rr rleotocudiogram, r-ny, blood lÊst. 0r othef dlqftd$lt lEJ"
                 uchding a¡ HlVle$ß              .,,,::.'-..-.-,.,...,.,                         !,!¡!r¡,¡ð.¡.¡¡,,n-,¡-Þ
              u. lhd surlay or Uopsy,             0r DeEn ¡n lnpalirnl or oulp¡tiÉd in             r hoqJlill,
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                                                                                                                               PART 2 . ùhdte¡l ltklûl'¡,    túorrünüed¡


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>   Renewable and Convertible Term Life Insurancê,
    A change of premium provision is applicable subject to Guaranteed Maximum Premiums
    The face amount is payable at death while the Policy ie in forcê prior to Expiration Date

    Premiums are payable as shown in the Policy Schedule to the Expiration Date or until the
    death of the lnsured
    This Policy is renewable to the Expiration Date
    This Policy ie convertible to the end of the Policy conversion period
    This Policy is nonparticipating and no dividends are payable
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           STATEMENT OF POLICY COST AND BENEFIT INFORMATION FOR POLICY '181239991

ANY CORRESPONDENCE REGARDING THIS POLICY SUMMARY MAY BE FORWARDED EITHER TO OUR HOME
OFFICE OR TO THE AGENT LISTED BELOW:
PREPARED   BY;                                                               AGENT:
                          .                                                  THE INSURANCE GROUP INC
BANNER L¡FE TNSURANCE COMPANY                                                112E 6TH ST
                                                                             EMMETT' ID 83617
3275 BENNETT CREEK AVENUE
FREDERICK,MD 21704

THIS POLICY SUMMARY WAS PREPARED CIN OCTOBER 05, 2016 FOR THE LIFE OF
JEREMY CLAY EGGERS ( MALE ) ISSUE AGE 40.

YOUR COVERAGE CONSISTS OF A RENEWABLE AND CONVERTIBLE TERM POLICY WITH A CHANGE OF
PREMIUM PROVISION, THE TOTAL ANNUAL PREMIUM WILL INCLUDE THE COST FOR WAIVER OF PREMIUM
BENEFIT, ACCIDENTAL DEATH BENEFIT, OR RATED EXTRAS IF ISSUED IN YOUR POLICY.

                               ANNUAL   PREMIUMS                               CUMULATIVE PREMIUMS FACE AMOUNT
           AGE      YEAR         GU.ARMAX                                            GUAR                      MAX
                                                                                                   OF I.NSURANCE
           40          I                                                                                                              1,000,000
           41          2                                                                                                              1,000,000
           42          3                                                                                                              1    000,000
           43          4                                                                                                              I 000,000
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                    LIFE INSURANCE COST    INDICES:                                    GUARANTEED PREMIUM
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                                                                                           YEAR 20 YEAR
                           SURRENDER COST INDEX                                          1.23                                  1.23
                           NET PAYMENT INDEX                                             1.23                                  1.23
AN EXPLANATION OF THE INTENDED USE OF THESE INDICES IS PROVIDED IN THE LIFE INSURANCE BUYER'S
GUIDE. THESE INDICES ARE USEFUL ONLY FOR THE COMPARISON OF RELATIVE COSTS OF TWO OR MORE
SIMILAR POLICIES.




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                   Banner Life lnsurance Company
                   3275 Bennett Creek Avenue
                   Frederick, Maryland 21704
 Gãneml            800-638-8428
                                                                                                                                                                        Privacy Policy
        ÂMËiÊ¡cÂ   www.LGAme rica.com




Our corporate policy

Your privacy is important to us. At Banner Life lnsurance Company, we understand that the information you provide to us or we
collect about you is private.

This privacy policy is provided to you so that you will understand what Banner Life does with the personal information you
provide to us and the measures we take to protect your privacy.

Who has âccess to customer information?

The information that you provide to us is used for Banner Life purposes only. Banner Life employees and independent agents
have access to your information, and are authorized to review it, only for the purpose of carrying out their official duties and
responsibilities. Banner Life employees and independent agents are required to keep customer information confidential.

Why does Banner Life collect and maintain information?

As a regulated insurance carrier, Banner Life is required by state laws and regulations to collect and mAintain certain information
about its customers. The information we collect also enables us lo provide you with services and products that meet your
individual needs and to provide you with the high level of customer care thal you have come to expect from Banner Life.

What type of information does Banner Life collect and maintain?

Banner Life Collects and maintains various types of information about its customers. The types of information we collect and
maintain about you may include:

    I   lnformation that you submit to us, such as your name, address, telephone number, and Social Security Number

    I   lnformation about your transactions with Banner Life, such as payment history and account balance.

    I   lnformation from non-affiliated third parties about your medical, employment and income history; your assets and
         liabilities and your driving record.

    I   lnformation from consumer reporting agencies about yourcredit history

    I   lnformation about you that may be derived from yourvisits lo Banner Life's websites.

Does Banner Life dieclose customer information to, or share cuetomer information with, outeideß'¿

Banner life does not disclose any non-public personalfìnancial or any non-public personal medical information about our
customers or former customors to anyone except as permitted or required by law,

It is Banner Life's current policy not to disclose customer information to, or share customer information with, other businesses for
marketing purposes,

lf this policy should change, Banner Life will notiñ7 you by mail, and you will be given an opportunity to request that your
information not be disclosed to, or shared with other businesses for marketing purposes.




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 How can I contac't Banner Life if I have privary questions?

 lf you have any question aboul the privacy of your information, you can contact the Customer Service Department by;



 Mail:          Customer Service Department
                Banner Life lnsurance Department
                3275 Bennett Creek Avenue
                Frederick, MD 217M

                or

 E-mail:        cuslom e rservice@ ban nerl ife. com

                or

 Phone:         1-800-638-8428




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                       Eanner Life lnsurance Company
          Æ            3275 Bennett Creek Avenue
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    Gneral AÀ¡IEFICA
                       800-638-8428
                       www.LGAmerica,com

                                               CURRENT POLICY SPECIFICATIONS

  lnsured: JEREMY CLAY EcGERS                                                                     PolicyNumber:     181239991

  Policy Owner(s): JEREMY CLAY EGGERS

  Base Plan of lnsurance: 30 year Term

  Base Face Amount: $1,000,000                                                                    Polícy   Date:    10/05/2016

  lssue Date: 0911412016                                                                         Premium    Mode:   MONTHLY

                                                                                                 Premium Amount:
  Rider Type/Amount: N/A




                                                    POLICY DELIVERY RECEIPT
 Pfease sign and date this document below to certify.lfql
                                                                   vq have received the policy and understand lhe information in this
 document rhe free look period of the Policy begins wiin tnáììgning_"itd           ãäcrñréni'äio provides you the opportunity to review
 the Policv, and if not satisfied, return it for aiull rËfuno or premruï.
                                                                          inátài toìr'ãî"ñiiàãi'r; *re ¿uiai¡õn àr1r,äîree took period.)
 coverage under the Policy will begin on the date this Ðelivery Rryerqt is signed and.given
                                                                                                to a company representative atong
 with-the first modal premium paymént and all Delivery nequireímeÁts are met, provided
                                                                                          alr persons proposed for insurance under
 the Policv are living and insurâbie as described in eaóh pàrt ofinã äpùicatioi'r|iìnu
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 You are entitled to request a different Policv Date than the one that appears on the-policy,
 met, coverage will begin on the date ttri's oetivâry                                             lf all of the above requirements are
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 to today's date.

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                                Delivery Receipt-              one copy atóng w¡th ttre piem¡uñ [ãyment and any other delivery
              requirements.

  B.           I hereby request that the company clglìgg the Policy Date to the date this
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               changing the Poliuv Date to the dáte thls*Defivery nåce'pì is u'g..d,
               result in an increase in the premiurn amount and my potióy *irr Ëä reissué¿
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              and will provide coverage beginning todäy, subject io ãii cäntiãctuat pr'oviriõñi'wn¡Ë
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              changed. Please sign,.and daIe. boih copies.
              payment, any other delivery requirements. ng,tgin  9f ,t¡:s o"iu*l nãceipt.                ïäòv  along wirh the premium
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              it with the reissued Policy tñat will ¡e forthcomrng.
By signi ng below, l/we certify we have ¡eceived the Banner Life l!g{11qu                  read and. revíewed the apptication, rhe first
modal p remium has been paid and the proposed insured's health a no medtcatFpliqv,
                                                                                    ntstory remain in every aspect as described jn the
application. Iiwe also certify that l/we fully understand the contents ot this
any representalions that contradict the language in this Receipt
                                                                                Delivery Receipt stated above, and no one has made


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                                        BANNER LIFE INSURANCE coTvIPANY

                                                Frederick, Maryland


                                         AMENDMENT TO APPLICATION


 PROPOSED INSURED        - JEREMY CLAYEGGERS
 FILE NUMBER       -   181239991                       DATE OF APPLICATION                               -         0711212016


        THE BANNER LIFE INSURANCE COMPANY IS HEREBY AUTHORIZED
                                                                 TO
        AMEND THE APPLICATION IDENT¡FIED ABOVE IN THE FOLLOWING MANNER:




       IT IS AGREED THAT THIS AMENDMENT SHALL FORM A PART OF MY APPLICATION AND
       THAT A COPY HEREOF IS TO BE ATTACHED TO THE POLICY.



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                                                                                   BUREAU OF VITAL RECOBDS AND HEALTH STATISTICS

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             ACCIDENTAL DEATH POLICY




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